Use theCase
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 Notice of Appeal Criminal                                                                   Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                        vs.                         )        Criminal No. 21-cr-00176 (CJN)
                                                    )
  STEVE OMAR MALDONADO                              )


                                       NOTICE OF APPEAL


Name and address of appellant:                      United States of America




Name and address of appellant’s attorney:           Elizabeth H. Danello, Assistant US Attorney
                                                    Office of the US Attorney for DC
                                                    601 D Street, NW Room 6.232
                                                    Washington, DC 20253

Offense: 18 U.S.C. 1512(c)(2); 18 U.S.C. 1752(a)(1) & (a)(2); 40 U.S.C. 5104(e)(2)(B), (e)(2)(D), & (e)(2)(G)

Concise statement of judgment or order, giving date, and any sentence:
     Order, entered January 12, 2023, granting motion to dismiss Count One of indictment,
     charging obstruction of justice under 18 U.S.C. 1512(c)(2)


Name and institution where now confined, if not on bail: On bond


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
  February 7, 2023                                    United States of America
 DATE                                               APPELLANT
                                                     Elizabeth H. Danelllo
                                                                        o
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE          ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES ✔          NO
Has counsel ordered transcripts?                                YES            NO         (Decided on the motions; no
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES            NO ✔       transcript)
